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 Attorneys for Defendant, Cohen, Weiss and Simon LLP

                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY

                                                       Case No. 2:20-cv-12880-JMV-JAD
  DANIEL D’AMBLY,

                                          Plaintiff,
                                                                     Civil Action
                         v.

  CHRISTIAN EXOO a/k/a ANTIFASH          CERTIFICATION OF MICHAEL
  GORDON; ST. LAWRENCE UNIVERSITY;               CANNING, ESQ.
  TRIBUNE PUBLISHING COMPANY;
  NEW YORK DAILY NEWS; VIJAY
  GADDE; TWITTER, INC.; COHEN, WEISS Motion Date: December 7, 2020
  AND SIMON LLP,

                                      Defendants.



        MICHAEL J. CANNING, ESQ., by way of certification in lieu of affidavit, hereby states

 as follows:

        1.      I am an attorney at law of the State of New Jersey and an officer and shareholder

 in the law firm of Giordano, Halleran & Ciesla, P.C., attorneys for Cohen, Weiss and Simon LLP.

 In this capacity I am familiar with the facts set forth herein.

        2.      Attached hereto as Exhibit “A” is a true and accurate copy of the September 21,

 2020 Complaint and Jury Trial Demand filed by Plaintiff.

        3.      Attached hereto as Exhibit “B” is a true and accurate copy of the October 23, 2020

 Consent Order Granting Motion for Extension in which to file Answer or Otherwise Move.
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          4.        Attached hereto as Exhibit “C” is a true and accurate copy of the October 22, 2020

 Answer to Plaintiff’s Complaint filed by Cohen, Weiss and Simon LLP.

          5.        Based on the foregoing and the accompanying Memorandum of Law, Cohen, Weiss

 and Simon LLP respectfully requests that this court dismiss Count XIII of Plaintiff’s Complaint in

 its entirety with prejudice.

          I certify that the foregoing statements made by me are true. I am aware that if any of the

 foregoing statements are willfully false, I am subject to punishment.




                                                 ____________________________________
                                                       MICHAEL J. CANNING, ESQ.

 DATED: November 9, 2020




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                           EXHIBIT “A”
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Attorneyfor PlaintiffDanielD'Ambly

                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


 DANIEL D'AMBLY,

                Plaintiff;                         CIVIL, ACTION NO.:

        VS.
                                                                COMPLAINT
 CHRISTIAN EXOO a/k/a ANTIFASH
 GORDON;ST.LAWRENCE UNIVERSITY;                           JURY TRIAL DEMAND
 TRIBUNE PUBLISHING COMPANY;NEW
 YORK DAILY NEWS;VIJAYA GADDE;
 TWITTER,INC; COHEN,WEISS AND
 SIMON,LLP;

                Defendants.


       Plaintiff, Daniel D'Ambly by and through his attorney the Law Office ofPatrick Trainor,

Esq., LLC,as and for its Complaint against defendants Christian Exoo a/k/a @AntifashGordon,

St. Lawrence University, Tribune Publishing Company,LLC,New York Daily News, Vijaya

Gadde, Twitter, Inc., and Cohen, Weiss, and Simon,LLP, hereby alleges as follows:

                                    ENT OF THE CASE
                               STATEM

       1.      This action arises out ofthe repugnant conduct of defendant Christian Exoo, an

extortionist, known habitual doxer, and member of Antifa, associates with others to conduct

patterns ofracketeering activities. Defendant Exoo under the Twitter username

"AntiFashGordon" directs his associates in the "Exoo Enterprise" to conduct violent and



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extortionate patterns ofracketeering activities devoted to "dozing" complete strangers that the

Exoo Enterprise has labeled "fascists" and/or "white supremacists." To "dox" someone means to

publicly disclose a person's identity, employer, school, home address, etc., for the purpose of

causing harm to that person. Once the target has been doxed, Exoo directs the Enterprise to

commence a pattern ofviolent and threatening emails, Tweets, and phone calls to the target's

employers, professional clients, schools,prospective employers or schools to extort the target's

termination from employment, expulsion from school, and compel the targets exit from society.

Exoo is aware ofthe potential illegality ofhis directives, because he instructs his associates to

use the telephone *67 feature to block their phone numbers when making threatening calls.

       Defendant Exoo identified D'Ambly as a white supremacist and thereafter, directed the

Exoo Enterprise to stalk him in order to learn his true identity. Upon discovering D'Ambly's

identity, Exoo directed the enterprise to deluge D'Ambly's employer,the New York Daily News

their parent Tribune Publishing Company and D'Ambly's labor union the Teamsters, with

violent and threatening Tweets, and phone calls threatening death and personal and physical

harm to their employees and property,in order to extort D'Ambly's termination. Defendant

Exoo unmistakably directs the Exoo Enterprise's patterns ofracketeering activities through

interstate communications.

       One-person hellbent on destroying the lives ofother persons, conspires with, participates

in, and directs an enterprise that engages in patterns ofracketeering activities every day by using

interstate communications to threaten physical violence to extort and cause harm to their target.

The enterprise's associates and co-conspirators include, a major religious university, top lawyer

ofa publicly traded corporation and the publicly traded corporation. The Exoo Enterprise's

associates are motivated by a shared disdain ofpeople labeled fascists and white supremacists.



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                                         THE PARTIES

        2.     Plaintiff Daniel D'Ambly (Hereinafter "Plaintiff' or "D'Ambly"),is a twenty-

 seven(27) year member ofLocal One-L, Graphic Communications Conference ofthe

 International Brotherhood of Teamsters, who was employed as a was a plate maker for the New

 York Daily News in Jersey City, New Jersey until January 18,2019. D'Ambly was labeled a

 `fascist' and/or a 'white supremacist.' Plaintiffis an individual domiciled in the State ofNew

 Jersey and a "person" as defined under 18 U.S.C. § 1961(3).

        3.     Defendant Christian Exoo("Exoo" or "@AntiFashGordon")is a library building

supervisor and lecturer at St. Lawrence University. Exoo is a self-described anti-fascist,

 notorious doxer, and leader of Antifa, who by doxing others has acquired a great deal of

 notoriety and infamy.' Exoo currently publishes Tweets under Twitter username

"@AntiFashGordon." Exoo is an individual domiciled in the State ofNew York and a "person"

 as defined under 18 U.S.C. § 1961(3).

        4.     St, Lawrence University ("St. Lawrence" or "STL")is a private four-year

 university with its principal place of business located at 116 Vilas Hall,23 Romoda Drive,

 Canton, New York 13617, and a "person" as defined under 18 U.S.C. § 1961(3).




   AntiFascists Are Waging A Cyber War — And They're Winning, Medium.com(Sep. 9,2019)
 https://gen.medium.com/antifas-kevboard-warriors-254f62be2a95 (last accessed Sep. 15,2020);
 Comcastfires employee with alleged ties to Proud Boys, We the People Rally,PhillyVoice.com
(November 15,2018)https://www.phillvvoice.corn/comcast-fires-employee-proud-bovs-alt-
 right-nhiladelphia-rally/(last accessed Sep. 15,2020); The Right Wing Is Trying to Make It a
 Crime to Oppose Fascism, Truthout.org(Aug. 9,2019) httns://truthoutorgiarticles/the-right-
 winQ-is-trvin2-to-make-it-a-crime-to-oppose-fascism/(last accessed Sep. 15,2020); How to Spot
An Abuser, Featuring Antifash Gordon,In His Own Words:A Step By Step Guide, and Also
F*** That Guy, Medium.com (Jun. 25,2020)
 riLips.innedium.corn/04buse isnt revolutionawnow-to-spot-an-abuser-featuring-antifash-
 aordon-in-his-own-abuser-words-7b39f4657b19(last accessed Sep. 15,2020).
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         5.     Tribune Publishing Company("Tribune")is a media company organi
                                                                                        zed under
 the laws ofthe State ofDelaware with its principal place of
                                                            business located at 160 N.Stetson
 Avenue, Chicago,Illinois 60601 that conducts its business throug
                                                                  hout the United States, and is a
 "person" as defined under 18 U.S.C. § 1961(3).

        6.      New York Daily News Company("Daily News")is owned by the Tribun
                                                                                            e
 Publishing Company(Tribune and Daily News are sometimes herein
                                                                       after referred to collectively
 00000as Daily News)with a place of business located at 125 Theod
                                                                    ore Conrad Drive, Jersey
 City, New Jersey 07305, and 4 New York Plaza, New York, NY 10004
                                                                         . The Daily News is a
"person" as defined under 18 U.S.C.§ 1961(3). At all times releva
                                                                  nt, the Tribune Publishing
 Company had the right and did exercise control over the actions ofthe
                                                                         New York Daily News.
        7.     Vijaya Gadde("Gadde")is the Head ofLegal,Public Policy, and Trust
                                                                                         and Safety
Lead at Twitter, Inc. At all times relevant, Vijaya Gadde was the sole
                                                                       decision maker and person
authorized to permanently ban Twitter users Owho violated Twitter's
                                                                       Terms of Service and
Rules. She is a "person" as defined under 18 U.S.C. § 1961(3). Gadde
                                                                     is believed to be
domiciled in the State of California.

       8.      Twitter, Inc.("Twitter"), is a company organized under the laws ofthe
                                                                                        State of
Delaware with its principal place of business located at 1355 Market
                                                                       Street, San Francisco, CA
94103,that conducts its business globally and a "person" as defined
                                                                    under   18 U.S.C. § 1961(3).
       9.     The Exoo Enterprise is a criminal enterprise as defined under 18 U.S.C
                                                                                       .§
1961(4), consisting ofDefendant Christian Exoo a/k/a "AntiFashGordon
                                                                         ," who directs the Exoo
Enterprise, St. Lawrence University, Vijaya Gadde,Twitter, Inc., and uniden
                                                                             tified associates.




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           10.   Cohen, Weiss, and Simon,LLP("CWS")is a law firm with its principal place of

 business located at 900 3rd Avenue,#2100, New York,New York 10022 and a "person" as

 defined under 18 U.S.C. § 1961(3).

                                  JURISDICTION AND VENUE

        11.      Jurisdiction ofthis Court is proper because this litigation arises under federal law,

 namely 18 U.S.C. §§ 1961 to 1968. This Court has jurisdiction over this matter under 28 U.S.C.

 § 1331.

        12.      The Court has supplementaljurisdiction over the state law claims asserted in this

case under 28 U.S.C. § 1367(a).

        13.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b)(2) because a

substantial part ofthe events or omissions giving rise to the claims occurred in this District, and

the threatened and actual harm to Plaintiff occurred in this District by reason ofDefendants'

conduct as alleged below.

                                   FACTUAL ALLEGATIONS

        14.      In addition to being a Teamster,D'Ambly is a member ofthe New Jersey

European Heritage Association("EHA"),a non-violent, pro-domestic policy organization that

the Exoo Enterprise has labeled a white supremacist hate group. D'Ambly, who the Exoo

Enterprise identifies as the leader ofEHA,actively participates with other EHA members in

political rallies, peaceful political protests, pamphleteering, and speech that is protected by U.S.

Const. amend.I and N.J. Const. art. I,¶ 6.

        15.      Defendant Exoo publishes Tweets and doxes others using Twitter username

"@AntiFashGordon"the leading Antifa Twitter account that as of September 16, 2020, has

37,518 followers. The headline of@AntiFashGordon's public profile states "I expose fascists



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 via #OSINT,get them fired, de-homed, kicked out ofschool, etc." Based on the substance of

@AntiFashGordon's Tweets he broadly identifies persons who do not share his radical far left

 political ideology as fascists and/or white supremacists. Exoo's definition offascists and white

 supremacists is indiscernible, because he uses the terms broadly and interchangeably.

        16.    Upon information and belief, Exoo is known to Twitter's Trust & Safety Council

("TSC")as a habitual doxer and ban evader. A ban evader is a person who creates a new Twitter

 account after receiving a permanent ban. The ban evader's new account is called a "ban evasion

 account."

        17.    Doxing is prohibited by Twitter's Private Information Policy within their Terms

ofService and Rules("TOS").2 Twitter's TOS do not permit permanently banned persons to

create new accounts,' a permanent ban means a lifetime ban.

        18.    Upon information and belief, Exoo has had two Twitter accounts permanently

b nned for doxing. Twitter has previously permanently banned @ChrisExoo,4

 ®ChristianExoo,5 in addition, Twitter allowed ®DoxSavage to change its name

@AntiFashGordon.

        19.    Upon information and belief, the Exoo Enterprise targeted D'Ambly as a white

supremacist at some point in or about January 2018. Thereafter, Exoo directed his associates via

Twitter to uncover D'Ambly's true identity, for the sole purpose ofdoxing him.




2 hups://help.twitter.comkn/rules-and7o6       q/nersonal-information "You may not publish or
post other people's private information without their express authorization and permission. We
also prohibit threatening to expose private information or incentivizing others to do so."
3 huns://help.twitter.corn/en/rules-and
                                      : policies/enforcement-option "Permanent suspension:
This is our most severe enforcement action. Permanently suspending an account will remove it
from global view, and the violator will not be allowed to create new accounts."
4 https://twitter.com/ChrisExoo (last accessed Sep. 15,2020)
5 hUps://twitter.com/ChristianExoo (last accessed Sep. 15, 2020)

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          20.    Upon information and belief, by September 2018, Twitter received dozens of

 complaints directly Tweeted to Twitter Support and Twitter Trust and Safety informing them

 that Exoo's previous Twitter account @DoxSavage was aggressively doxing, which forced

 Twitter to investigate the accounts activities. Under Twitter's normal protocol, accounts being

 investigated for violating the TOS are prevented from Tweeting during the investigation. 6

          21.    Twitter ignored their TOS and allowed @DoxSavage to continue Tweeting during

their investigation.

          22.    Upon information and belief, at some point on or about October 1, 2018, Gadde

and Twitter agreed to allow @DoxSavage to undergo a name change in lieu ofa permanent ban.

Instead ofreceiving his third permanent ban,Twitter agreed to change Exoo's username to

@AntiFashGordon. The unprecedented agreement to allow the name change under these

circumstances was done to ensure the approximate 20,000 @DoxSavage followers were not lost.

         23.     On October 11, 2018, @DoxSavage Tweeted a farewell announcement to his

followers:"Hey folks—Ijust underwent a name change from @DoxSavage to @AntiFash

Gordon. I'll be back tomorrow to expose more violent fascists who were on the ground in

Providence on 10/6." The name change kept the Exoo Enterprise intact, and their ability to

effectively conduct its patterns ofracketeering activities was not harmed.

         24.     On October 29,2018, at 11:49 a.m., @AntiFashGordon published a massive

twenty-two count Tweet thread(a thread is a series ofrelated Tweets)that doxed D'Ambly to his

estimated 20,000 followers. The dox publicly disclosed for the first time D'Ambly's name,

hometown,photograph, employer, occupation, employer's location, multiple telephone numbers




6   https://heln.twitter.comfenkules-and-policies/enforcement-options(last accessed Sep. 15,2020)
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 for his employer, a labor union Referendum Board he chaired, and the names ofthe other

 Referendum Board members.

        25.      In the dox,@AntiFashGordon labeled D'Ambly a "Nazi" and directed the Exoo

Enterprise associates to send harassing, intimidating, and threatening phone calls and Tweets to

the Daily News's Twitter usemame @NYDailyNews,to extort D'Ambly's termination. Exoo's

dox directed:

             a. In the 19th Tweet,@AntiFashGordon directed his associates "stay on top ofthis,

                 too. If you don't hear back from @NYDailyNews,keep tweeting at them." Call

                 their printing facilities in Jersey City at(201)***-****(number provided in

                 original Tweet)and warn them about Daniel D'Ambly..."

             b. A follow up Tweet included a second telephone number for the New York Daily

                News and a subsequent Tweet included the direct telephone number to

                D'Ambly's print shop.

             c. Within minutes the Exoo Enterprise obeyed Exoo's directive and flooded

                @NYDailyNews and @Teamsters with Tweets and phone calls that threatened

                the Daily News with violent attacks ifD'Ambly was not terminated.

             d. Upon information and belief,from October 29,2018,to January 11,2019,the

                Exoo Enterprise directed no less than fifty-four(54)threatening Tweets to

                @Daily News plus an unknown number ofthreatening phone calls.

             e. D'Ambly was never told ofthe threats or warned to take safety precautions by

                anyone from the Daily News or Tribune.

       26.      On October 30,2018, without warning D'Ambly ofthe dangerous threats,

Tribune engaged Insite Risk Management("Insite")to investigate D'Ambly. At the conclusion



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  oftheir investigation, Insite produced the "Private Investigation Report"("Repor
                                                                                  t")and provided
  it to the Tribune on December 4,2018. The Report acknowledged @AntiFashGor
                                                                             don's doxing
  was the impetus for the investigation and confirmed D'Ambly's association
                                                                              with EHA. The
 Report included videos ofD'Ambly and others using imprudent language during
                                                                                     political rallies.
        27.     On or before January 8, 2019,EHA posted flyers on public bulletin boards in

 Princeton, New Jersey that announced an "It's okay to be white" protest march
                                                                               purportedly
 scheduled for January 12, 2019.

        28.     On January 9,2019, @AntiFashGordon re-Tweeted the "It's okay to be white"

 march to his associates and again doxed D'Ambly by Tweeting,"If anyone wants
                                                                                     their leaders
 name,it's Dan D'Ambly."

        29.    On January 10,2019, @AntiFashGordon published a second Tweet that

 referenced EHA's purported march and directed his associates to "show up and shut down"
                                                                                                the
 purported march "And please say hi to their leader,Dan D'Ambly for me."

        30.    On January 10, 2019,D'Ambly was called to an interview with Jean Nechvatal

("Nechvatal), Tribune's Vice President, Talent Management & Learning and James R.Brill

("Brill"), Daily News's Sr. Vice President ofOperations. D'Ambly was accompanied at the

 meeting by Union Steward Pete Cairnie. During the meeting,D'Ambly was confronted with

content ofthe Report, but not informed ofthe report's existence. D'Ambly acknowledged
                                                                                      using
imprudent language in a private conversation during a protest.

       31.     On January 11,2019, at 10:14 a.m., @AntiFashGordon again directed his

associates to shut down EHA's purported January 12,2019 "It's okay to be white" march and

exhorted his associates "if you can, show up and show these pricks that we don't tolerate hate
                                                                                                 in
our streets." The Tweet included @NYDailyNews and doxed D'Ambly's hometown again.



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Exoo encouraged violence to shut down the purported protest, but warned "Remember that the

police won't protect us here."

        32.    Upon information and belief, at some point before 10:21 a.m. on January 11,

2019,Edward Bushey, Sr. Vice President, General Manager, Manufacturing and Distribution at

Tribune delivered recordings ofthe death threats to the Daily News. The callers threatened

D'Ambly and stated the Daily News was responsible for"any violence or blood spilled is also on

your hands." One threatening caller's phone number was captured.

       33.     On January 11,2019,from 9:30 a.m. to 10:14 a.m., Twitter usemames

@hubcityantifa, @NYCAntifa,and @Nstricklanded replied via Tweet to @AntiFashGordon's

instructions with coded messages that confirmed they followed his instructions and made threats.

        34.    Upon reason and belief, one ofthe death threat phone numbers is owned by a

person who Tweeted mission confirmation to @AntiFashGordon on January 11,2019.

       35.     On January 11,2019, at 2:20 p.m.,EHA Tweeted that the "It's okay to be white"

protest was a prank.

       36.     On January 11,2019, at 3:30 p.m.,D'Ambly was called to a second meeting with

James Brill, Sr. Vice President of Operations for the Daily News to recap the previous days

meeting. In the meeting, Brill issued D'Ambly a "Last and Final Warning" that stated the

"ONLY reason that you are not being terminated immediately is because, thus far, we have not

determined that your activities with NJEHA has occurred at work and/or derogatory comments

were made about any co-workers." The warning continued "should we learn that you engaged in

any inappropriate speech or behavior in the workplace or with regard to any other employee, or

ifthe Company or any ofits employees suffer any backlash as a result of your association with




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 the NJEHA,your conduct will be considered "work-related" and you will be terminated

 immediately."

         37.     This meeting with Brill was a pre-text for D'Ambly's termination. The meeting

 occurred five(5)hours after death threats were received, but Brill did not inform Plaintiff,

 because the Daily News intended to use the threats as evidence the company received "backla
                                                                                            sh"
from D'Ambly's conduct and was the "cause" of his termination.

         38.    At 4:34 p.m. on January 11, 2019,@AntiFashGordon replied to EHA's Tweet by

 threatening D'Ambly whereby @AntiFashGordon threatened "Regardless,I'm gonna spend the

next week wrecking your fucking life, Dan D'Ambly."

        39.    In the evening ofJanuary 11,2019,the Exoo Enterprise's extended campaign of

violent Tweets and threats ofphysical violence to D'Ambly came to fruition and his vehicle was

"keyed"(scratched)and tires slashed while parked outside ofhis home on private property. An

investigation report for a bias incident, criminal mischief, and harassment was filed with the

South Brunswick Police Depaituient.

        40.    Plaintiffreported to work the following day on January 12,2019, but was not

informed ofthe death threats received the day before.

        41.    On Sunday, January 13, 2019, at 10:16 a.m., five(5)days before D'Ambly's

official termination date @AntiFashGordon Tweeted to four ofhis associates that he "got a

pretty reliable tip this morning that he's not at the @NYDailyNews anymore..." in reference to

Plaintiff.

       42.     On Monday,January 14,2019, the Daily News called D'Ambly and told him not

to report to work until informed otherwise.




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        43.     On January 16,2019, during a phone conference with Brill, Nechvatal, and a

 Union representative, D'Ambly was played the recorded death threats and asked to identify the

 caller. D'Ambly was unable to identify the caller, but said it was the behavior of"Antifa types."

 Brill was scornful ofD'Ambly's inability to identify the caller and blamed him for the threats.

 D'Ambly was terminated during this phone conference.

        44.     On January 23,2019,Patrick LoPresti, President ofLocal One-L informed the

 Daily News that they were appealing D'Ambly's termination pursuant to terms ofthe Contract.

        45.     On or about January 25,2019,D'Ambly received his "Termination of

Employment" letter„ signed by Brill and dated January 22,2019. The letter informed Plaintiff

 his termination was effective January 18,2019. The termination letter is imbued with Brill's

 animus for D'Ambly. In the letter, Brill stated "your choice to take these repulsive actions has

now put our workplace and employees at risk ofcounter attacks by Antifa."

       46.     The termination letter falsely stated the Daily News learned ofthe death threats

on January 14, 2019, contrary to emails that confirm the Daily News learned ofthe threats on

January 11, 2019.

       47.     In the termination letter, Brill claimed the death threats received on January 11,

2019, were the "cause" ofD'Ambly's termination, because the death threats meant D'Ambly

"brought his activities" into the workplace,therefore,"we deem your actions to be work related

and are terminating your employment for cause."

       48.     At some point after January 23,2019, the Union on behalf of D'Ambly filed a

grievance with the American Arbitration Association, case number 01-19-0000-7178. The

Union retained attorneys Thomas Kennedy("Kennedy")and Kate M.Swearengen




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("Swearengen")of Cohen, Weiss,and Simon, LLP (collectively Kenne
                                                                           dy, Swearengen and
 Cohen. Weiss and Simon,LLP shall be referred to as"CWS")to repres
                                                                           ent Plaintiff.
         49.    Thereafter, D'Ambly had a phone conference with Kennedy to discuss the
                                                                                                    case.
 D'Ambly was acquainted with Kennedy for approximately twenty
                                                              years         due to his Union
 activities. D'Ambly explained the threats he received, property damag
                                                                       e, and that      his tires were
 slashed. D'Ambly stated "Tom,this Antifa are terrorists..." Kennedy angril
                                                                            y responded,"I do
 not consider Antifa to be terrorists and if you are going to continue referri
                                                                              ng to them(Antifa) as
 terrorists we are going to end this call." Kennedy scoffed at D'Ambly's
                                                                         desire to have his
 employment reinstated at the Daily News.

        50.     At some point thereafter,D'Ambly had his first case discussion phone

conference with Kate Swearengen, who assumed representation. Without prompt
                                                                            ing,
Swearengen explicitly informed D'Ambly that"she doesn't agree with his
                                                                                 politics and she
doesn't want to discuss them any further." Like Kennedy, Swearengen
                                                                    dismissed D'Ambly's
wish to have his employment reinstated.

       51.     Kennedy and Swearengen's revulsion ofD'Ambly directed their representati
                                                                                                     on
and they failed to adequately research basic facts favorable to D'Amb
                                                                       ly's wish to be reinstated.
CWS ignored Brill's misrepresentation and veracity ofthe claimed "cause
                                                                             " oftheir client's
termination.

       52.     CWS failed to adequately investigate the sources ofthe dozing campaign. Had

CWS engaged in reasonable investigation ofthe source ofthe dox they would
                                                                                   have discovered
@AntiFashGordon's January 13,2019, announcement that D'Ambly was termin
                                                                                     ated, which was
one day before the Daily News claimed they learned ofthe "cause" ofD'Amb
                                                                                  ly's termination.




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         53.      On or about July 15,2019,D'Ambly dejectedly executed the "Separation

 Agreement and Mutual General Release" negotiated by CWS that paid him a lump
                                                                                       sum payment
 in exchange the Union would withdraw the pending arbitration case with prejudic
                                                                                      e.
         54.      As a result ofDefendants' misconduct D'Ambly has suffered substantial persona
                                                                                                          l
 and property damage and been severely financially harmed.

                                      CLAIMS FOR RELIEF

                                             COUNT I

        Violation of New Jersey Law Against Discrimination, N.J.S.A. 10:5-1 to — 49
      (as to Defendants Tribune Publishing Company and the New York Daily News)

        55.      Plaintiffrepeats and incorporates herein by reference each and every one ofthe

allegations contained in paragraphs 1 through 54 with the same force and effect as if
                                                                                           set forth in
 detail herein again.

        56.      Defendants Tribune and Daily News are employers as defined in N.J.S.A. 10:5-5.

        57.      Plaintiff is older than forty years(40)old and was an employee as defined in

N.J.S.A. 10:5-5.

        58.      Defendants Tribune and Daily News discharged D'Ambly due to their enmity

towards his racially identifiable associations, whereas non-white Tribune and Daily
                                                                                       News
employees who participate in racially identifiable associations are not punished or termina
                                                                                                ted,
violated N.J.S.A. 10:5-12.

       59.      Defendants Tribune and Daily News undertook several pre-textual steps to mask

D'Ambly's discriminatory termination:

             a. Tribune hired a private investigation firm to invade D'Ambly's privacy in an

                unsuccessful effort to catch D'Ambly engaged in imlaw-ful activity.




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             b. In the morning ofJanuary 11,2019, the Daily News received death threats

                 intended to extort D'Ambly's termination that they did not immediately disclos
                                                                                                     e,
                 because they intended to use the threats pre-textually as the "cause" ofPlainti
                                                                                                    ffs
                termination.

             c. In the afternoon ofJanuary 11, 2019,the Daily News issued D'Ambly a "Last and

                Final Warning," that warned him he would be immediately terminated if it were

                discovered he brought his political activities into the workplace, but they did not

                inform or warn D'Ambly ofthe death threats earlier received.

             d. D'Ambly was informed he was terminated on January 16, 2019.

             e. Subsequently, D'Ambly received a "Termination ofEmployment" letter dated

                January 22,2019, whereby,the Daily News falsely stated they discovered the

                death threats on January 14, 2019, contrary to indisputable evidence they received

                the death threats on January 11,2019, which meant he "brought his activities into

                the workplace" after he was warned. Daily News cited this fabrication as the

               "cause" ofD'Ambly's termination.

       60.      As a direct and proximate result of defendants Tribune Publishing Company and

the New York Daily News racially discriminatory termination, D'Ambly has suffered adverse

consequences and continues to be damaged. D'Ambly is entitled to compensatory damages,

equitable and declaratory relief, punitive damages, costs, and reasonable attorneys' fees
                                                                                            in an
amount to be determined at trial, but which is in excess of$75,000.00.

                                           COUNT

                  Tortious Interference with Prospective Economic enefit

                 (as to defendant Christian Exoo a/ida "AntiFashGordon")



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        61.     Plaintiffrepeats and incorporates herein by reference each and every one ofthe

allegations contained in paragraphs 1 through 60 with the same force and effect as if set forth in

detail herein again.

        62.     D'Ambly was rightfully entitled to pursue lawful employment with the Daily

News as a plate maker and dues paying member ofthe Union.

        63.     D'Ambly reasonably expected his employment to continue into the future and to

benefit economically from his employment.

       64.      Defendant Exoo knew D'Ambly was employed by the Daily News and

intentionally interfered with D'Ambly's prospective economic benefits to be gained from

continued employment.

       65.      Defendant Exoo intentionally and unjustifiably interfered with D'Ambly's rights

to pursue a lawful business.

       66.      Defendant Exoo's interference caused D'Ambly's employer to terminate his

employment.

       67.      D'Ambly has suffered and will continue to suffer irreparable harm in the form of

damage to his reputation, loss ofincome and financial hardship as a result ofExoo's

interference.

       68.      As a direct and proximate result of defendant Exoo's interference with

D'Ambly's prospective economic benefits, D'Ambly has suffered adverse consequences and

continues to be damaged. D'Ambly is entitled to compensatory damages, equitable and

declaratory relief, punitive damages, costs, and reasonable attorneys' fees in an amount to be

determined at trial, but which is in excess of$75,000.00.

                                          COUNTf
                                               i



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        Intrusion Upon Seclusion — Public Disclosure ofPrivate Personal Information

                  (as to defendant Christian Exoo a/k/a "AntiFashGordon")

        69.     Plaintiff repeats and incorporates herein by reference each and every one ofthe

 allegations contained in paragraphs 1 through 68 with the same force and effect as
                                                                                      ifset forth in
 detail herein again.

        70.     In directing and carrying out a sustained effort to embarrass, defame and publicize

 private facts, including D'Ambly's home address and familial relations without his consent
                                                                                               ,
Defendant Exoo intentionally intruded upon the D'Ambly's solitude and seclusion.

        71.    By conducting a sustained effort to embarrass, defame and publicize private facts

without the consent ofthe D'Ambly,including D'Ambly's home address and familial relation
                                                                                                   s,
defendants intentionally intruded upon the D'Ambly's solitude and seclusion.

       72.     Defendant Exoo intentionally intruded on D'Ambly's solitude and seclusion in a

manner that is highly offensive to a reasonable person.

       73.     D'Ambly did not consent to Defendants intrusion.

       74.     As a direct and proximate result of defendant Exoo's intrusion upon his seclusion,

D'Ambly has suffered adverse consequences and continues to be damaged. D'Ambly is entitled

to compensatory damages, equitable and declaratory relief, punitive damages, costs, and

reasonable attorneys' fees in an amount to be determined at trial, but which is in excess of

$75,000.00.

                                           COUNT IV

 Violation of N.J.S.A. 2C:33-4.1 and N.J.S.A.2C:30-31(a) Cyber-Harassment and Stalkin
                                                                                                   g
                (as to defendant Christian Exoo a/k/a "AntiFashGordon")




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         75.     Plaintiffrepeats and incorporates herein by reference each and every one ofthe

 allegations contained in paragraphs 1 through 74 with the same force and effect
                                                                                 as if   set forth in
 detail herein again.

         76.    Defendant Exoo encouraged and incited others to violence against D'Ambly and

 conducted an ongoing campaign that intruded D'Ambly's life.

        77.     Defendant Exoo intentionally and knowingly sent, commented, and posted

 D'Ambly's private and involuntarily disclosed personal information to social media network
                                                                                                 ing
sites to purposely harass, intimidate, and threaten D'Ambly.

        78.     By encouraging others to inflict physical harm to D'Ambly's person and property.

        79.     By encouraging others to commit crimes against D'Ambly that resulted in

D'Ambly receiving death threats and sustaining physical damage to his personal propert
                                                                                            y
        80.     As a direct and proximate result ofDefendant Exoo's cyber-harassment and

stalking D'Ambly has suffered adverse consequences and continues to be damaged. D'Ambl
                                                                                       y is
entitled to compensatory damages, equitable and declaratory relief, punitive damages, costs,
                                                                                                 and
reasonable attorneys' fees in an amount to be determined at trial, but which is in excess
                                                                                            of
$75,000.00.

                                           COUNT V

                 Violation of 18 U.S.C.§ 875(c)— Interstate Communications

                 (as to defendant Christian Exoo a/k/a "AntiFashGordon")

       81.     Plaintiffrepeats and incorporates herein by reference each and every one ofthe

allegations contained in paragraphs 1 through 80 with the same force and effect as ifset forth in

detail herein again.




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         82.      By using an interactive computer service to intentionally transm
                                                                                     it threats of
  physical violence to Plaintiff via interstate communications.

         83.     By directing an enterprise that is engaged in an interstate campa
                                                                                   ign ofviolent
 threats to Plaintifffor the purpose ofinjuring and endangerin
                                                                  g D'Ambly's personal safety.
         84.     By directing associates to "stay on top ofthis, too. If you don't
                                                                                   hear back from
 @NYDailyNews,keep tweeting at them"Exoo transmitted threat
                                                                      s in interstate commerce.
         85.    By explicitly threatening D'Ambly via an interactive computer
                                                                                  service, by
 Tweeting "Regardless,I'm gonna spend the next week wrecking
                                                                     your flicking life, Dan
 D'Ambly"Exoo transmitted threats in interstate commerce.

        86.     As a direct and proximate result of defendant Exoo's use of inters
                                                                                      tate
 communications to threaten and harm D'Ambly he suffered
                                                              adverse consequences and continues
 to be damaged. D'Ambly is entitled to compensatory damages,
                                                             equitable and        declaratory relief,
 punitive damages, costs, and reasonable attorneys' fees in an amoun
                                                                       t to be determined at trial,
but which is in excess of $75,000.00.

                                            COUNT VI

                           Violation of 18 U.S.C. 2261A(2)—Stalking

                  (as to defendant Christian Exoo a/k/a "AntiFashGordon")

       87.     Plaintiffrepeats and incorporates herein by reference each and every
                                                                                        one ofthe
allegations contained in paragraphs 1 through 86 with the same force
                                                                        and effect as ifset forth in
detail herein again.

       88.     Beginning in or about January 2018, Defendant Exoo used an intera
                                                                                 ctive
computer service to surveil and stalk D'Ambly with the intent to harass
                                                                          , intimidate,threaten, and
injure D'Ambly.



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         89.     As a result ofstalking D'Ambly,Defendant discovered D'Ambly's true person
                                                                                                  al
 identity and then disseminated the information using an interactive comput
                                                                            er service with
 instructions to associates to harass,intimidate, and endanger D'Ambly's
                                                                           personal safety.
         90.    Defendant Exoo used an interactive computer service to direct others to harass,

 intimidate, and threaten others in order to extort D'Ambly's termina
                                                                      tion from   lawful
 employment.

        91.     Defendant Exoo's conduct caused D'Ambly to reasonably fear for the safety
                                                                                                of
 himself and his family, and caused him to suffer severe emotional and financial distres
                                                                                           s.
        92.     As a direct and proximate result ofdefendant Exoo's stalking in violation of
                                                                                                18
 U.S.C. § 2261A(2)D'Ambly has suffered adverse consequences and continues to
                                                                                     be damaged.
D'Ambly is entitled to compensatory damages, equitable and declaratory relief,
                                                                                   punitive
damages, costs, and reasonable attorneys' fees in an amount to be determined at
                                                                                   trial, but which
is in excess of$75,000.00.

                                          COUNT VII

                             Employer's Breach of its Duty to War

     (as to Defendants Tribune Publishing Company and the New York ally
                                                                        News)
       93.     Plaintiffrepeats and incorporates herein by reference each and every one ofthe

allegations contained in paragraphs 1 through 92 with the same force and effect as
                                                                                     ifset forth in
detail herein again.

       94.     Defendants Tribune and Daily News received a stream of death threats directed at

Plaintiff over a two and one-half month period,but they never warned D'Ambly.

       95.     Defendants Tribune and Daily News never warned D'Ambly to take

precautionary measures as he entered or exited the workplace.



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         96.     Defendants Tribune and Daily News did not take steps to increase the safety
                                                                                                   of
  D'Ambly and other employees as they entered and exited the workpl
                                                                    ace.
         97.     Defendants Tribune and Daily News did not secure the workplace in
                                                                                         order to
  protect D'Ambly and others.

         98.     As he was not aware ofthe threats, D'Ambly could not take steps to
                                                                                        protect
  himselfand his property and as a result his property was damag
                                                                 ed on   January 11, 2019.
        99.      Defendants Tribune and Daily News had a duty to warn their employee
                                                                                             he was
 the direct target ofthe death threats they received.

         100.    As a direct and proximate result of defendants Tribune and Daily News'
                                                                                       failure to
 warn D'Ambly has suffered adverse consequences and continues to be
                                                                         damaged. D'Ambly is
 entitled to compensatory damages, equitable and declaratory relief, puniti
                                                                            ve damages, costs, and
 reasonable attorneys' fees in an amount to be determined at trial, but which
                                                                                is in excess of
 $75,000.00.

                                           COUNT VIII

                  Violations of N.J.S.A 2C:41-1 to — 2C:41-6.2( acketeering)

(as to defendant Christian Exoo a/k/a "AntiFashGordon," St. Lawrence
                                                                     University, Vijaya
                     Gadde,and Twitter,Inc., the "Exoo Enterprise")

        101.    Plaintiffrepeats and incorporates herein by reference each and every one ofthe

allegations contained in paragraphs 1 through 100 with the same force and
                                                                              effect as if set forth in
detail herein again.

        102.    The "Exoo Enterprise" is directed by defendant Christian Exoo a/k/a

"AntiFashGordon," and consists of associates St. Lawrence University, including
                                                                                     their
employees and agents, Vijaya Gadde, and Twitter, Inc., including their employees
                                                                                      and agents,
and unknown associates.


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         103.    Defendant Exoo used an interactive computer service to direct the Exoo

 Enterprise's patterns ofracketeering activities as defined by N.J.S.A. 2C:41(a)(1)to extort

 D'Ambly's termination from the Daily News.

            a. The Exoo Enterprise threatened the Daily News via Tweets and phone calls and

                 related activities prohibited by N.J.S.A. 2C:41-2.

            b. Exoo Enterprise committed multiple prohibited by N.J.S.A. 2C:41(a)(1)(h).

            c. Exoo Enterprise committed multiple prohibited by N.J.S.A. 2C:41(a)(1)(bb)

        104.     As a direct result ofthe Exoo Enterprises patterns ofracketeering activities,

D'Ambly was terminated from his employment.

        105.     As a direct and proximate result ofDefendants' patterns ofracketeering activities

D'Ambly has suffered adverse consequences and continues to be damaged. D'Ambly is entitled

to compensatory damages, equitable and declaratory relief, punitive damages, costs, and

reasonable attorneys' fees in an amount to be determined at trial, but which is in excess of

$75,000.00.

                                            COUNT IX

                        Violations of18 U.S.C. §§ 1962(c)— Racketeering

               Multiple violations of RICO predicates 18 U.S.C.§§ 1951 and 1952

(as to defendant Christian Exoo a/kJa "AntiFashGordon," St. Lawrence University, Vijaya
                     Gadde,and Twitter,Inc., the "Exoo Enterprise")

       106.     Plaintiffrepeats and incorporates herein by reference each and every one of the

allegations contained in paragraphs 1 through 105 with the same force and effect as if set forth in

detail herein again.




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          107.     Each ofthe individuals and entities is a "person" within
                                                                                  the meaning of 18 U.S.C.
  § 1961(3) who conducted the affairs ofthe enterprise,
                                                           through a pattern ofracketeering activity
  in violation of 18 U.S.C. § 1962(c).

          108.    The Exoo Enterprise is an enterprise within the meaning
                                                                                  of 18 U.S.C. 1961(4),
  directed by defendant Christian Exoo a/k/a "AntiFashGordon
                                                                     ," and consisting of St. Lawrence
 University, including their employees and agents, Vijay
                                                            a Gadde, and Twitter, Inc., including
 their employees and agents, and unknown associates. The
                                                         Exoo Enterprise was created to dox
 fascists and white supremacists in order to use the doxed infor
                                                                 matio     n to conduct patterns of
 racketeering activities to threaten violence, intimidate
                                                          , harass, and extort others to achieve the
 enterprises mission of causing employment terminatio
                                                      ns, educa       tional expulsions, physical injury,
 and personal harm to the persons doxed. The Exoo Enterprise
                                                             functions as an organization and
 continuing unit to effectuate patterns ofracketeering activi
                                                               ty.
        109.     Upon information and belief, multiple generations ofExoo'
                                                                                   s family are or were
 employed by St. Lawrence University. Exoo's activities are
                                                            well known to St. Lawrence faculty
and administrators, who allow Exoo to direct the enterprise
                                                                from St. Lawrence property,from his
place of employment, during his normal work hours using
                                                              St. Lawrence equipment and
information technology. St. Lawrence consents to Exoo's
                                                        use of St. Lawrence prope           rty to direct
the enterprise, and participates in the Exoo Enterprise, because
                                                                     they believe the patterns of
racketeering activities helps St. Lawrence's achieve their globa
                                                                     l mission.
        110.     Defendant Exoo uses his employment,teaching, and lectu
                                                                               ring at St. Lawrence
with the consent and approval of St. Lawrence to recruit stude
                                                                    nts to join the Exoo Enterprise as
associates. In concert with other associates, the Exoo Enter
                                                             prise, direc   ted by defendant Exoo




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  created and maintained systematic links for the common purpose of doxing
                                                                                 targeted fascists and
  white supremacists, and then threaten, harass, and extort others to
                                                                        cause harm to their targets.
          111.    At all times relevant, Gadde was the only Twitter employee authorized
                                                                                             to
 permanently ban Twitter users.'

         112.    Defendant Exoo is and was well known to Gadde and Twitter, because Gadde
                                                                                                      and
 Twitter have twice before permanently banned Exoo due to habitual doxing
                                                                                 .
         113.    Gadde and Twitter agreed to associate with the Exoo Enterprise when they

 breached their own TOS to conspire with a recidivist ban evader, and permit
                                                                                 ted the enterprise
 leader to create ban evasion account"@AntiFashGordon," which Gadde
                                                                              and Twitter knew was
 purposely created to dox unsuspecting persons, in order to direct associates
                                                                                in patterns of
 racketeering activities.

         114.    Gadde and Twitter associate and participate in the_Exoo Enterprise's pattern
                                                                                                  s of
racketeering, by virtue oftheir affirmative decision to allow Exoo,a three-
                                                                               time ban evader and
known habitual doxer, create a ban evasion account in direct contradictio
                                                                              n oftheir TOS and
enforcement rules, through which,the Exoo Enterprise conducts its patterns of
                                                                                     racketeering.
        115.     Upon information and belief Gadde and Twitter have received hundreds and

likely thousands ofcomplaints directly to their individual Twitter accoun
                                                                             ts and through Twitter's




7 Meet Vijaya Gadde, an Indian-born Twitter head who
                                                      decides on blocking tweets, users, The
Economic Times,(Jan. 16,2020) https://economictimes.indiatimes.com/tech
                                                                         /internet/meet-
vijava-gadde-an-indian-bom-twitter-head-who-decides-on-blockin2-
tweets/articleshow/73281445.cms,last accessed September 12,2020. See also,
                                                                             Twitter's Top
Lawyer Is Final Word On Blocking Tweets — Even Donald Trump's, Bloomberg.com,(Jan
                                                                                       . 15,
2020) htins://wwvv.bloombera.corninewstarticles/2020-01-15/twitter-s-gadde-is-
                                                                              final-word-on-
blocking-tweets-even-trump-% last accessed September 12,2020; Meet Twitter's top lawyer
                                                                                          ,
who has thefinal word on blocking tweets — including Donald Trump's, Fortune.com,
                                                                                    (Jan. 15,
2020) huns://fortune.com/2020/01/15/twitter-top-lawyer-vijava-gadde-blocks-twe
                                                                               ets-donald-
trump!,last accessed September 12,2020.

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    TSC regarding the Exoo Enterprise's doxing. But Gadde and Twitter choose
                                                                                    to ignore the
    avalanche of doxing and abusive behavior complaints and refuse to enforce their
                                                                                       own policies in
    order to facilitate the patterns ofracketeering activities directed by known ban evasion
                                                                                               account,
    ®AntiFashGordon.

            116.   Gadde personally participates in, and benefits from the Exoo Enterprise's pattern
                                                                                                              s
    ofracketeering activities, because she has publicly stated her personal disdain for fascists
                                                                                                    and
    white supremacists, and she is "very, very focused on that...the KKK,the American Nazi
                                                                                                    Party,"
    because that "was what my parents had to deal with" where she grew up on the Texas-
                                                                                        Louisiana
    border.8 Gadde participates in the Exoo Enterprise, because of an Oresteian desire to
                                                                                          avenge        her
 parents perceived mistreatment. Gadde and Twitter are the lynchpin ofthe Exoo
                                                                               Enterprise.
 Without Gadde and Twitter's consent and participation,the Exoo Enterprise could not
                                                                                            conduct
its patterns ofracketeering activities.

           117.    Twitter benefits economically from the Exoo Enterprise's patterns ofracketeering

activities, because @AntiFashGordon has an extremely large Twitter following, one
                                                                                          ofthe
largest follower bases of all Twitter users, and the account drives a tremendous amount
                                                                                               of
internet traffic to Twitter, which potentially increases Twitter's ad revenue.

           118.    Twitter benefits socially from the Exoo Enterprise's patterns ofracketeering

activities because the Exoo Enterprise's doxing offascists and white supremacists imparts
                                                                                                    a
social benefit on Twitter as it is seen as a defender of"marginalized communities" and provide
                                                                                                          s
cover for their stated business goal ofcreating what Twitter describes as "safer" conversations.




8 Twitter's Kayvon Beykpour and Vijaya Gadde: the Code Conference interview (transcript),
Vox.com (June 27,2019) https://wwvv.vox.com/recode/2019/6/27/187604-44/twitter-
                                                                                 kavlon-
bevkpour-vi iava-gadde-kara-swisher-neter-kafka-code-conference-interview-transcri nt,last
accessed September 12, 2020.

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          119.      The Exoo Enterprise engages in and affects interstate comme
                                                                                  rce, because, inter
  alia, it threatens violence to persons and property ofothers
                                                                 throughout the United States in
 furtherance ofa plan that reaches into the several states to
                                                                disrupt economic activity. The Exoo
 Enterprise has caused severe economic hardship to targeted person
                                                                       s, such as D'Ambly and
 negatively impacted local economies throughout the United
                                                                 States.
         120.      Pursuant to and in furtherance oftheir violent doxing campaign,
                                                                                     Defendants
 directed and participated in the affairs ofthe Exoo Enterprise
                                                                  through patterns ofracketeering
 activity, including multiple acts indictable under 18 U.S.C. §§
                                                                   1951 (Interference with commerce
 by threats or violence) and 1952(use ofinterstate facilities
                                                                to conduct unlawful activity).
        121.       The conduct ofthe Exoo Enterprise described above constitutes "rack
                                                                                          eteering
 activity" within the meaning of 18 U.S.C. § 1961(1). Defen
                                                            dants' decisions and activity in
 connection with the Exoo Enterprise to routinely conduct its transa
                                                                     ctions    in such a manner
constitutes "patterns ofracketeering activity" within the meani
                                                                   ng of 18 U.S.C. § 1961(5).
        122.     By virtue ofthese violations of 18 U.S.C. § 1962(c), Defendants
                                                                                     are liable to
D'Ambly for three times the damages sustained, plus the costs
                                                              of     this suit, including reasonable
attorneys' fees.

        123.     As a direct and proximate result ofDefendants patterns ofracket
                                                                                    eering activity
D'Ambly has suffered adverse consequences and continues to be
                                                                     damaged in an amount to be
determined at trial, but which is in excess of$75,000.00.

       124.      As a direct and proximate result ofthe Exoo Enterprise's patterns
                                                                                     ofracketeering
activities D'Ambly has suffered adverse consequences and continues
                                                                           to be damaged. D'Ambly
is entitled to compensatory damages, equitable and declaratory relief,
                                                                           punitive damages, costs,




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 and reasonable attorneys' fees in an amount to be determined at trial, but which is in excess
                                                                                                 of
 $75,000.00.

                                            COUNT X

                          Violation of 18 U.S.C.§ 1962(d)(Conspiracy)

(as to defendant Christian Exoo a/k/a "AntiFashGordon," St. Lawrence University,
                                                                                 Vijaya
                     Gadde,and Twitter,Inc.,the"Exoo Enterprise")

        125.    Plaintiffrepeats and incorporates herein by reference each and every one of the

 allegations contained in paragraphs 1 through 124 with the same force and effect as ifset
                                                                                              forth in
detail herein again.

        126.    Section 1962(d)ofRICO provides "shall be unlawful for any person to conspire

to violate any provisions ofsubsection (a),(b), or(c)ofthis section."

        127.   Defendants have violated 18 U.S.C. § 1962(d)by conspiring to associate and

participate in the Exoo Enterprise's patterns ofracketeering activities as defined in 18 U.S.C.

1962(c). The object ofthis conspiracy is to conduct, direct and participate in, directly or

indirectly, the Exoo Enterprise's patterns ofracketeering activity.

        128.   Defendants have engaged in numerous overt and predicate racketeering acts in

furtherance ofthe conspiracy, including threatening, intimidating, and extorting others to cause

harm to their targets.

       129.    The nature ofthe above-described acts of Defendants and co-conspirators acts in

furtherance ofthe conspiracy gives rise to an inference that they not only agreed to the objective

of an 18 U.S.C. 1962(d) violation, but they were aware that their ongoing extortionate acts have

been, and are part ofan overall pattern ofracketeering activity demonstrated through related and

continuous acts.




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          130.      Defendants sought to and have engaged in the commission of, and continue to

  commit overt acts, including the following unlawful racketeering predicate acts:

               a. Multiple instances ofinterference with commerce by threats ofviolence in

                  violation of 18 U.S.C. § 1951; and

               b. Multiple instances ofuse ofinterstate facilities to conduct unlawful activity

                  violations of 18 U.S.C.§ 1952.

         131.     As a direct and proximate result ofDefendants' multiple overt acts and predicate

 acts in furtherance ofthe Exoo Enterprise,in violation of 18 U.S.C. § 1962(d), by conspiring to

 violate 18 U.S.C. 1962(c),Plaintiff has been and continues to be injured by Defendants' conduct.

         132.     By virtue ofthese violations of18 U.S.C. § 1962(d), Defendants are liable to

 D'Ambly for three times the damages sustained, plus the costs ofthis suit, including reasonable

 attorneys' fees.

         133.     As a direct and proximate result ofDefendants patterns ofracketeering activity

 D'Ambly has suffered adverse consequences and continues to be damaged. D'Ambly is entitled

 to compensatory damages, equitable and declaratory relief, punitive damages, costs, and

 reasonable attorneys' fees in an amount to be determined at trial, but which is in excess of

 $75,000.00.

                                             COUNT XI

                                       Negligent Entrustment

                        (as to defendants Vijaya Gadde and Twitter,Inc.)

        134.     Plaintiffrepeats and incorporates herein by reference each and every one ofthe

allegations contained in paragraphs 1 through 133 with the same force and effect as if set forth in

detail herein again.



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          135.    Defendant Exoo is a notorious and infamous doxer, who
                                                                             relies on Twitter to dox
  unsuspecting people and direct his enterprise.

          136.    Due to habitual doxing and abusive behavior, Twitter has
                                                                              previously permanently
  banned two accounts controlled by defendant Exoo,@Chri
                                                              sExoo and @ChristianExoo.
          137.    Upon information and belief, Twitter received hundreds of
                                                                               complaints that
 defendant Exoo was habitually doxing under Twitter usern
                                                              ame @DoxSavage.
          138.   In lieu ofa third permanent ban Twitter agreed to allow defen
                                                                                 dant Exoo to
 undergo a name change from @DoxSavage to @AntifashG
                                                           ordon, contrary to Twitter's TOS.
          139.    Subsequent to Twitter's agreement to allow defendant Exoo to
                                                                                   change his Twitter
 username to @AntiFashGordon, Vijaya Gadde and Twitter's
                                                                Safety Council have received
 numerous doxing complaints.

         140.    Gadde was the only person at Twitter with authority to decid
                                                                                e permanent bans
and she knew Exoo is a habitual doxer, but she ignored that
                                                              knowledge and agreed to allow him
to change his usemame and continue doxing.

         141.    Gadde recklessly ignored Twitter's TOS against ban evasion
                                                                                accounts and
allowed Exoo to change his name from @DoxSavage to @Anti
                                                                 FashGordon,thereby, entrusting
Exoo with the instrumentality to direct the Exoo Enterprise's
                                                                patterns ofracketeering activities.
        142.     As a direct and proximate result ofdefendant Gadde and Twitter's
                                                                                      negligent
entrustment D'Ambly has suffered adverse consequences and conti
                                                                      nues to be damaged.
D'Ambly is entitled to compensatory damages, equitable and declar
                                                                      atory relief, punitive
damages, costs, and reasonable attorneys' fees in an amount to be
                                                                    determined at trial, but which is
in excess of$75,000.00.

                                          COUNT XII



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                 Breach ofImplied Covenant of Good Faith — Promissory'Estoppel

                        (as to defendants Vijaya Gadde and Twitter,Inc.)

          143.   Plaintiffrepeats and incorporates herein by reference each and every one ofthe

 allegations contained in paragraphs 1 through 142 with the same force and effect as if set forth in

 detail herein again.

          144.   Defendant Twitter's TOS prohibit doxing and ban evasion accounts.

          145.   Defendant Twitter created a Trust and Safety Council department to investigate

violations oftheir TOS to remove abusive content and protect others from abusive behaviors of

others.

          146.   Twitter's created the Trust and Safety Council to prohibit abusive behavior by

Twitter users and promised victims ofabusive behavior would be protected.

          147.   Gadde is the executive in charge ofTwitter's Trust and Safety council, and the

only person at Twitter with authority to allow Exoo to create a ban evasion account.

          148.   Defendant Twitter allowed defendant Exoo to create a ban evasion account fully

aware he was a habitual doxer, who used Twitter to harm others.

          149.   Defendant Exoo as @AntiFashGordon doxed D'Ambly,threatened violence to

D'Ambly and his employer to extort his termination.

          150.   Gadde, Twitter Support and Twitter Trust and Safety received contemporaneous

complaints that @AntiFashGordon doxed D'Ambly,but took no action.

          151.   Twitter refused to protect Plaintifffrom the Exoo Enterprise's abusive behavior

and has not removed Plaintiffs doxed information or banned the Exoo Enterprise, who continues

to abuse and habitually dox.




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         152.    Twitter assumed liability for the harm that flows from defendant Exoo's doxing

 when they neglected to remove D'Ambly's doxed information in violation oftheir
                                                                                     TOS.
         153.    As a direct and proximate result of defendant Gadde and Twitter's breach oftheir

 assumed duty to remove D'Ambly's doxed private information D'Ambly has
                                                                               suffered adverse
 consequences and continues to be damaged. D'Ambly is entitled to compensatory damages
                                                                                       ,
 equitable and declaratory relief, punitive damages, costs, and reasonable attorneys' fees
                                                                                             in an
 amount to be determined at trial, but which is in excess of$75,000.00.

                                           COUNT X111

                                        Legal Malpractice

                       (as to defendant Cohen,Weiss,and Simon,L.L.P.)

        154.    Plaintiffrepeats and incorporates herein by reference each and every one ofthe

allegations contained in paragraphs 1 through 153 with the same force and effect as ifset forth
                                                                                                     in
detail herein again.

        155.    As a result oftheir personal revulsion ofD'Ambly and his political beliefs CWS

failed to adequately represent and protect D'Ambly's rights.

        156.    Defendant CWS neglected to perform necessary case research,legal research, and

investigation ofthe accusations against D'Ambly.

       157.     As a result of CWS's inadequate legal research and investigation they failed to

protect D'Ambly from the extortionate and criminal conduct of others.

       158.     As a result ofCWS's failure to adequately investigate D'Ambly's doxing they

failed to learn that @AntiFashGordon publicly announced D'Ambly's termination on January

13, 2019, which occurred five days before his official termination date, and one day before the

purported "cause" of his termination was discovered.



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        159_    CWS failed to challenge Brill's blatant misrepresentations regarding the timing of

 the alleged 'cause' ofD'Ambly's termination.

        160.    CWS's revulsion ofD'Ambly and his political beliefs caused them to ignore an

 obvious racially discriminatory pre-textual termination spotlighted by the private investigation,

 last and final warning, and falsely claimed cause ofD'Ambly's termination.

        161.    As a direct and proximate result of CWS's legal malpractice that flowed from

 their firmwide enmity ofD'Ambly's political beliefs D'Ambly has suffered adverse

consequences and continues to be damaged. D'Ambly is entitled to compensatory damages,

equitable and declaratory relief, punitive damages, costs, and reasonable attorneys' fees in an ,

 amount to be determined at trial, but which is in excess of$75,000.00.

                                      PRAYER FOR RELIEF

WHEREFORE,Plaintiff pray for relief as follows:

        1.     Demandsjudgment against Defendants,jointly and severally, in an amount to be

determined at trial plus interest, including, but not limited to, all emotional distress, back pay,

punitive damages, liquidated damages, statutory damages, attorneys' fees, costs, and

disbursements, and for such relief as the Court deems just and proper.

       2.      On Plaintiff's RICO claims: compensatory damages and enhancement of damages

Plaintiff has sustained as a result ofDefendants' conduct as may be permitted under the relevant

statutes, such amount to be determined at trial, plus Plaintiff's costs in this suit, including

reasonable attorneys' fees;

       3.      On Plaintiffs tortious interference, legal malpractice, intrusion upon seclusion,

stalking and harassment claims: compensatory and punitive damages in an amount to be

determined at trial.



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                                        JURY DEMAND

         Pursuant to Rule 38(b)ofthe Federal Rules of Civil Procedure,Plaintiff demands trial by

jury on all issues so triable.


Dated:          September 21,2020

                                             Respectfully Submitted,
                                             LAW OFFICE OF PATRICK TRAINOR,ESQ.,LLC
                                             Attorneyfor Plaintiff



                                                trick Trainor
                                              848 Paterson Avenue
                                              East Rutherford, New Jersey 07073
                                             (201)777-3327
                                              pt@ptesq.com




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  The IS 44 civil cover sheet and the information contained herein
                                                                   neither replace nor supplement the filing and service ofpleadings or other papers as required by law,
  provided by local rules ofcourt. This form, approved by the Judicial Conference                                                                                        except as
                                                                                    ofthe United States in September 1974, is required for the use ofthe Clerk ofCourt for the
  purpose ofinitiating the civil docket sheet. (SEEINSTRUCTIONSON NEXTPAGE OF THIS
                                                                                           FORM.)

  DRNIETRIT                                                                                             GREM6-1 a/k/a AntiFashGordon;ST. LAWRENCE
                                                                                                        UNIVERSITY; TRIBUNE PUBLISHING COMPANY,LLC; NEW YORK
                                                                                                        DAILY NEWS;VIJAYA GADDE;TWITTER,INC., JOHN DOE 1-10
   (b)     County ofResidence ofFirst Listed Plaintiff          MIDDLESEX                                 County ofResidence ofFirst Listed Defendant
                                (EXCEPTIN U.S.PLAINTIFF CASES)                                                                 (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                          NOTE:     IN LAND CONDEMNATION CASES,USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

           Attorneys(Firm Name,Address,and Telephone Number)                                               Attorneys(IfKnown)
 LAW OFFICE OF PATRICK TRAINOR
 848 PATERSON AVENUE
 EAST RUTHERFORD, NEW JERSEY 07073
 H. BASIS OF JURISDICTION(Place an -X"in OneBar Only)                                       HI. CITIZENSHIP OF PRINCIPAL PARTIES(Place an "X"in One BarforPlaintiff
                                                                                                    (For Diversity Cases Only)                                        and One Boxfor Defendant)
 Cl 1   U.S. Government             )13 Federal Question                                                                     PTF        DEF                                         PTF      DEF
          Plaintiff                       (US. Government Not a Party)                          Citizen ofThis State         0 1        Cl 1     Incorporated or Principal Place      0 4 04
                                                                                                                                                   ofBusiness In This State
 0 2 U.S. Government                  0 4 Diversity                                             Citizen ofAnother State       02        0 2 Incorporated and Principal Place        05      05
       Defendant                            (Indicate Citizenship ofParties in Dem III)                                                        ofBusiness In Another State

                                                                                                Citizen or Subject ofa        03        0 3 Foreign Nation                          06      06
                                                                                                  Foreign Country
 IV. NATURE OF SUIT                   Place an "X"in One Box Only,                                                                       Click here for: Nature ofSuit Code Descriptions.
           CONTRACT                                         TORTS                                  FORFEITURE/PENALTY                     BANKRUPTCY                   OTHER STATUTES               1
  Cl 110 Insurance                        PERSONAL INJURY               PERSONALINJURY 0 625 Drug Related Seizure                  0 422 Appeal 28 USC 158       0 375 False Claims Act
  0 120 Marine                        0 310 Airplane                0 365 Personal Injury -            ofProperty 21 USC 881       0 423 Withdrawal              0 376 Qui Tam(31 USC
  Cl 130 Miller Act                    Cl 315 Airplane Product               Product Liability 0 690 Other                               28 USC 157                       3729(a))
 0 140 Negotiable Instrument                  Liability             0 367 Health Care/
  Cl 150 Recovery ofOverpayment Cl 320 Assault,Libel &                                                                                                           0 400 State Reapportionment
                                                                            Pharmaceutical                                            PROPERTY RIGHTS           0 410 Antitrust
         & Enfoii....orent ofJudgment         Slander                      Personal Injury                                         0 820 Copyrights             (.71 430 Banks and Banking
  Cl 151 Medicare Act                 Cl 330 Federal Employers'            Product Liability
  O 152 Recovery ofDefaulted                  Liability
                                                                                                                                   0 830 Patent                  Cl 450 Commerce
                                                                    0 368 Asbestos Personal                                        0 835 Patent -Abbreviated ;     e460 Deportation
         Student Loans                0 340 Marine                           Injury Product                                               New  Drug Application      470 Racketeer Influenced and
        (Excludes Veterans)           0 345 Marine Product                   Liability                                             0 840 Trademark                      Corrupt Organizations
0 153 Recovery ofOverpayment                  Liability               PERSONAL PROPERTY                     LABOR                     SOCIAL SECURITY           0 480 Consumer Credit
         ofVeteran's Benefits         0 350 Motor Vehicle           0 370 Other Fraud          Cl 710 Fair Labor Standards         0 861 MA(1395(1)             0 490 CableJSat TV
0 160 Stockholders' Suits             Cl 355 Motor Vehicle          0 371 Truth in Lending             Act                         0 862 Black Lung(923)        0 850 Securities/Commodities/
0 190 Other Contract                         Product Liability      0 380 Other Personal       0 720 Labor/Management              0 863 DIWC/DIWW (405(g))              Exchange
0 195 Contract Product Liability 0 360 Other Personal                      Property Damage             Relations                   0 864 SSID Title XVI          Cl 890 Other Statutory Actions
 O 196 Franchise                             Injury                 Cl 385 Property Damage     0 740 Railway Labor Act             0 865 RSI(405(g))            0 891 Agricultural Acts
                                      0 362 Personal Injury -              Product Liability   0 751 Family and Medical                                         0 893 Environmental Matters
                                             Medical Malpractice                                       Leave Act                                                 Cl 895 Freedom ofInformation
I        REAL PROPERTY                     CIVIL ItItach             PRISONER PETITIONS 0 790 Other Labor Litigation                  FEDERAL TAX SUITS                  Act
0 210 Land Condemnation               0 440 Other Civil Rights         Habeas Corpus:          0 791 Employee Retirement           Cl 870 Taxes(U.S.Plaintiff    Cl 896 Arbitration
0 220 Foreclosure                     0 441 Voting                  Cl 463 Alien Detainee            Income Security Act                  or Defendant)         0 899 Administrative Procedure
 Cl 230 Rent Lease & Ejectment        0 442 Employment              0 510 Motions to Vacate                                        0 871 IRS—Third Party                Act/Review or Appeal of
 Cl 240 Torts to Land                 0443 Housing/                        Sentence                                                       26 USC 7609                   Agency Decision
 Cl 245 Tort Product Liability               Accommodations         Cl 530 General
 Cl 290 All Other Real Property                                                                                                                                 0 950 Constitutionality of
                                      Cl 445 Amer. w/Disabilities - 0 535 Death Penalty               IMMIGRATION                                                       State Statutes
                                             Employment                Other:                  Cl 462 Naturalization Application
                                      0 446 Amer. w/Disabilities - Cl 540 Mandamus & Other 0 465 Other Immigration
                                             Other                  0 550 Civil Rights                Actions
                                     0 448 Education                Cl 555 Prison Condition
                                                                    0 560 Civil Detainee -
                                                                           Conditions of
                                                                          Confinement
V. ORIGIN (Place an "X"in One Box Only)
;
S(.
  1 Original   Cl 2 Removed from                      0 3       Remanded from             Cl 4 Reinstated or
                                                                                                           0 5 Transferred from             0 6 Multidistrict              Cl 8 Multidistrict
    Proceeding       State Court                                Appellate Court                Reopened            Another District                 Litigation -                Litigation -
                                                                                                                (  sPecb5)                          Transfer                   Direct File
                                        Cite the U.S.Civil Statute under which you are filing(Do not citejurisdictional statutes unless diversity):
VI. CAUSE OF ACTION 18 U.S.C.4 196Z 18 U.S.C.4 1964
                     Brief description ofcause:
                      Defendants committed multiple violations of 18 U.S.C.§§ 1951 and 1952
VII. REQUESTED IN   0 CHECK IF THIS IS A CLASS ACTION          DEMAND $                    CHECK YES only ifdemanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.
                                                                                           JURY DEMAND: /        Yes      0No
VIII. RELATED CASE(S)
                       (See insunctions):
     IF ANY                                  EDGE                                                                                    DOCKET NUMBER
DATE                                                                S     ATURE •       TTORNEY OF RECORD
09/21/2020
FOR OFFICE USE ONLY

  RECEIPT it                    AMOUNT                                  APPLYING IFP                                JUDGE                             MAG.JUDGE
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                            EXHIBIT “B”
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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY




                                            Case No. 2:20-cv-12880-JMV-JAD
   DANIEL D’AMBLY,

                             Plaintiff,
                                                        Civil Action
                     v.
                                              Consent Order Granting Motion
   CHRISTIAN EXOO a/k/a ANTIFASH
                                             for Extension in Which to File
   GORDON; ST. LAWRENCE
                                                 Answer or Otherwise Move
   UNIVERSITY; TRIBUNE PUBLISHING
   COMPANY; NEW YORK DAILY NEWS;
   VIJAY GADDE; TWITTER, INC.;
   COHEN, WEISS AND SIMON, LLP,


        THIS MATTER being brought before the Court by the law firm of

  Giordano Halleran & Ciesla, P.C., attorneys for Defendants Cohen,

  Weiss and Simon, LLP (“CWP”) with the consent and agreement of

  counsel for Plaintiff Daniel D’Ambly and for good cause having

  been shown;

        IT IS ON THIS _______
                       23rd            October
                              day of __________________, 2020;

        ORDERED that CWP is granted leave to file their Answer or

  Otherwise Move within (2) days of the filing of this Consent Order
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        IT IS FURTHER ORDERED that counsel for CWP shall forward

  a true     copy   of   this   Order   to    all   counsel   of   record    within

  _7_days hereof.




                                            /s/ Joseph A. Dickson
                                           ________________________________
                                           HON. JOSEPH A. DICKSON,
                                           U.S. MAGISTRATE COURT JUDGE




  I hereby consent to the form and entry of the within Order.


  GIORDANO, HALLERAN & CIESLA, P.C.
  Attorneys for Defendants Cohen, Weiss & Simon, LLP



  BY:__ _____________________
     Michael J. Canning, Esq.                        Dated: October 22, 2020




  LAW OFFICE OF PATRICK TRAINOR, ESQ., LLC
  Attorney for Plaintiff Daniel D’Ambly



  BY:   ________________________
        Patrick Trainor, Esq.                        Dated: October 22, 2020




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                            EXHIBIT “C”
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  Michael J. Canning, Esq. (032541984)
  GIORDANO, HALLERAN & CIESLA, P.C.
  125 Half Mile Road, Suite 300
  Red Bank, N.J. 07701-6777
  (732) 741-3900
  Attorneys for Defendant, Cohen, Weiss and Simon LLP

                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY

                                                        Case No. 2:20-cv-12880-JMV-JAD
   DANIEL D’AMBLY,

                                           Plaintiff,
                                                                      Civil Action
                            v.

   CHRISTIAN EXOO a/k/a ANTIFASH                          DEFENDANT COHEN, WEISS AND
   GORDON; ST. LAWRENCE UNIVERSITY;                           SIMON LLP’S ANSWER TO
   TRIBUNE PUBLISHING COMPANY;                          PLAINTIFF’S COMPLAINT, SEPARATE
   NEW YORK DAILY NEWS; VIJAY                               DEFENSES, CROSSCLAIM FOR
   GADDE; TWITTER, INC.; COHEN, WEISS                    CONTRIBUTION, CROSSCLAIM FOR
   AND SIMON, LLP,                                        INDEMNIFICATION, ANSWER TO
                                                        CROSSCLAIMS, DEMAND FOR TRIAL
                                                         BY JURY, DEMAND PURSUANT TO R.
                                       Defendants.       4:18-2, DEMAND FOR ALLOCATION,
                                                            DEMAND FOR STATEMENT OF
                                                         DAMAGES, DESIGNATION OF TRIAL
                                                             COUNSEL, CERTIFICATIONS


              Defendant Cohen, Weiss and Simon LLP (“CWS” or “Defendant”) by way of Answer to

  Plaintiff’s Complaint hereby says as follows:


                                    STATEMENT OF THE CASE

              1.    CWS makes no response to Plaintiff’s Statement of the Case as the Statement does

  not relate to CWS.


                                            THE PARTIES

              2.    CWS admits that Plaintiff was a member of Local One-L, Graphic Communications

  Conference of the International Brotherhood of Teamsters and was employed as a plate maker for


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  the New York Daily News in Jersey City, New Jersey until January 18, 2019, and otherwise is

  without knowledge or information sufficient to form a belief as to the truth of the allegations

  contained in paragraph 2 of Plaintiff’s Complaint.


              3.    Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 3 of Plaintiff’s Complaint.


              4.    Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 4 of Plaintiff’s Complaint.


              5.    Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 5 of Plaintiff’s Complaint.


              6.    Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 6 of Plaintiff’s Complaint.


              7.    Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 7 of Plaintiff’s Complaint.


              8.    Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 8 of Plaintiff’s Complaint.


              9.    Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 9 of Plaintiff’s Complaint.


              10.   CWS admits that it is a law firm with a principal place of business located at 900

  3rd Avenue, #2100, New York, New York and neither admits nor denies the remaining allegations

  contained in paragraph 10 of Plaintiff’s Complaint as it calls for a legal conclusion.



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              11.   CWS neither admits nor denies the allegations contained in paragraph 11 of

  Plaintiff’s Complaint as it calls for a legal conclusion.


              12.   CWS neither admits nor denies the allegations contained in paragraph 12 of

  Plaintiff’s Complaint as it calls for a legal conclusion.


              13.   CWS neither admits nor denies the allegations contained in paragraph 13 of

  Plaintiff’s Complaint as it calls for a legal conclusion.


              14.   Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 14 of Plaintiff’s Complaint.


              15.   Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 15 of Plaintiff’s Complaint.


              16.   Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 16 of Plaintiff’s Complaint.


              17.   Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 17 of Plaintiff’s Complaint.


              18.   Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 18 of Plaintiff’s Complaint.


              19.   Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 19 of Plaintiff’s Complaint.


              20.   Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 20 of Plaintiff’s Complaint.


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              21.   Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 21 of Plaintiff’s Complaint.


              22.   Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 22 of Plaintiff’s Complaint.


              23.   Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 23 of Plaintiff’s Complaint.


              24.   Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 24 of Plaintiff’s Complaint.


              25.   Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 25 of Plaintiff’s Complaint.


              26.   Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 26 of Plaintiff’s Complaint.


              27.   Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 27 of Plaintiff’s Complaint.


              28.   Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 28 of Plaintiff’s Complaint.


              29.   Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 29 of Plaintiff’s Complaint.


              30.   Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 30 of Plaintiff’s Complaint.


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              31.   Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 31 of Plaintiff’s Complaint.


              32.   Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 32 of Plaintiff’s Complaint.


              33.   Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 33 of Plaintiff’s Complaint.


              34.   Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 34 of Plaintiff’s Complaint.


              35.   Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 35 of Plaintiff’s Complaint.


              36.   Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 36 of Plaintiff’s Complaint.


              37.   Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 37 of Plaintiff’s Complaint.


              38.   Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 38 of Plaintiff’s Complaint.


              39.   Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 39 of Plaintiff’s Complaint.


              40.   Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 40 of Plaintiff’s Complaint.


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              41.   Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 41 of Plaintiff’s Complaint.


              42.   Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 42 of Plaintiff’s Complaint.


              43.   Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 43 of Plaintiff’s Complaint.


              44.   Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 44 of Plaintiff’s Complaint.


              45.   Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 45 of Plaintiff’s Complaint.


              46.   Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 46 of Plaintiff’s Complaint.


              47.   Defendant is without knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 47 of Plaintiff’s Complaint.

              48.   Defendant admits that a grievance was filed with the American Arbitration

  Association, Case Number 01-19-0000-7178, but denies the remaining allegations in paragraph 48

  of Plaintiff’s Complaint.

              49.   Defendant denies the allegations contained in paragraph 49 of Plaintiff’s

  Complaint.




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              50.    Defendant admits that Kate Swearengen informed Plaintiff during a phone

  conversation that she did not agree with his politics and that she did not want to discuss them and

  Defendant denies the remaining allegations contained in paragraph 50 of Plaintiff’s Complaint.

              51.    Defendant denies the allegations contained in paragraph 51 of Plaintiff’s

  Complaint.

              52.    Defendant denies the allegations contained in paragraph 52 of Plaintiff’s

  Complaint.

              53.    CWS admits that Plaintiff executed a “Separation Agreement and Mutual General

  Release” the terms of which speak for itself and denies the remaining allegations contained in

  paragraph 53 of Plaintiff’s Complaint.

              54.    Defendant denies the allegations contained in paragraph 54 of Plaintiff’s

  Complaint.

                                                COUNT I

              55.    Defendant repeats and realleges its responses to paragraphs 1 through 54 of

  Plaintiff’s Complaint as if fully set forth herein.


              56-60. CWS makes no response to the allegations in Count I of Plaintiff’s Complaint as

  the allegations do not pertain to CWS and CWS is without information sufficient to form a belief

  as to the truth of the allegations contained in Count I of Plaintiff’s Complaint and leaves Plaintiff

  to his proofs.


              WHEREFORE, Defendant demands judgment dismissing Plaintiff’s Complaint and

  denying any request for attorney’s fees and costs of suit, and such other relief as the Court deems

  fair, equitable and just.




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                                                COUNT II

              61.    Defendant repeats and realleges its responses to paragraphs 1 through 60 of

  Plaintiff’s Complaint as if fully set forth herein.


              62-68. CWS makes no response to the allegations in Count II of Plaintiff’s Complaint as

  the allegations do not pertain to CWS and CWS is without information sufficient to form a belief

  as to the truth of the allegations contained in Count II of Plaintiff’s Complaint and leaves Plaintiff

  to his proofs.


              WHEREFORE, Defendant demands judgment dismissing Plaintiff’s Complaint and

  denying any request for attorney’s fees and costs of suit, and such other relief as the Court deems

  fair, equitable and just.


                                                COUNT III

              69.    Defendant repeats and realleges its responses to paragraphs 1 through 68 of

  Plaintiff’s Complaint as if fully set forth herein.


              70-74. CWS makes no response to the allegations in Count III of Plaintiff’s Complaint as

  the allegations do not pertain to CWS and CWS is without information sufficient to form a belief

  as to the truth of the allegations contained in Count III of Plaintiff’s Complaint and leaves Plaintiff

  to his proofs.


              WHEREFORE, Defendant demands judgment dismissing Plaintiff’s Complaint and

  denying any request for attorney’s fees and costs of suit, and such other relief as the Court deems

  fair, equitable and just.




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                                               COUNT IV

              75.    Defendant repeats and realleges its responses to paragraphs 1 through 74 of

  Plaintiff’s Complaint as if fully set forth herein.


              76-80. CWS makes no response to the allegations in Count IV of Plaintiff’s Complaint as

  the allegations do not pertain to CWS and CWS is without information sufficient to form a belief

  as to the truth of the allegations contained in Count IV of Plaintiff’s Complaint and leaves Plaintiff

  to his proofs.


              WHEREFORE, Defendant demands judgment dismissing Plaintiff’s Complaint and

  denying any request for attorney’s fees and costs of suit, and such other relief as the Court deems

  fair, equitable and just.


                                                COUNT V

              81.    Defendant repeats and realleges its responses to paragraphs 1 through 80 of

  Plaintiff’s Complaint as if fully set forth herein.


              82-86. CWS makes no response to the allegations in Count V of Plaintiff’s Complaint as

  the allegations do not pertain to CWS and CWS is without information sufficient to form a belief

  as to the truth of the allegations contained in Count V of Plaintiff’s Complaint and leaves Plaintiff

  to his proofs.


              WHEREFORE, Defendant demands judgment dismissing Plaintiff’s Complaint and

  denying any request for attorney’s fees and costs of suit, and such other relief as the Court deems

  fair, equitable and just.




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                                               COUNT VI

              87.    Defendant repeats and realleges its responses to paragraphs 1 through 86 of

  Plaintiff’s Complaint as if fully set forth herein.


              88-92. CWS makes no response to the allegations in Count VI of Plaintiff’s Complaint as

  the allegations do not pertain to CWS and CWS is without information sufficient to form a belief

  as to the truth of the allegations contained in Count VI of Plaintiff’s Complaint and leaves Plaintiff

  to his proofs.


              WHEREFORE, Defendant demands judgment dismissing Plaintiff’s Complaint and

  denying any request for attorney’s fees and costs of suit, and such other relief as the Court deems

  fair, equitable and just.


                                               COUNT VII

              93.    Defendant repeats and realleges its responses to paragraphs 1 through 92 of

  Plaintiff’s Complaint as if fully set forth herein.


              94-100.       CWS makes no response to the allegations in Count VII of Plaintiff’s

  Complaint as the allegations do not pertain to CWS and CWS is without information sufficient to

  form a belief as to the truth of the allegations contained in Count VII of Plaintiff’s Complaint and

  leaves Plaintiff to his proofs.


              WHEREFORE, Defendant demands judgment dismissing Plaintiff’s Complaint and

  denying any request for attorney’s fees and costs of suit, and such other relief as the Court deems

  fair, equitable and just.




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                                              COUNT VIII

              101.   Defendant repeats and realleges its responses to paragraphs 1 through 100 of

  Plaintiff’s Complaint as if fully set forth herein.


              102-105.     CWS makes no response to the allegations in Count VIII of Plaintiff’s

  Complaint as the allegations do not pertain to CWS and CWS is without information sufficient to

  form a belief as to the truth of the allegations contained in Count VIII of Plaintiff’s Complaint and

  leaves Plaintiff to his proofs.


              WHEREFORE, Defendant demands judgment dismissing Plaintiff’s Complaint and

  denying any request for attorney’s fees and costs of suit, and such other relief as the Court deems

  fair, equitable and just.


                                               COUNT IX

              106.   Defendant repeats and realleges its responses to paragraphs 1 through 105 of

  Plaintiff’s Complaint as if fully set forth herein.


              107-124.     CWS makes no response to the allegations in Count IX of Plaintiff’s

  Complaint as the allegations do not pertain to CWS and CWS is without information sufficient to

  form a belief as to the truth of the allegations contained in Count IX of Plaintiff’s Complaint and

  leaves Plaintiff to his proofs.


              WHEREFORE, Defendant demands judgment dismissing Plaintiff’s Complaint and

  denying any request for attorney’s fees and costs of suit, and such other relief as the Court deems

  fair, equitable and just.




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                                               COUNT X

              125.   Defendant repeats and realleges its responses to paragraphs 1 through 124 of

  Plaintiff’s Complaint as if fully set forth herein.


              126-133.     CWS makes no response to the allegations in Count X of Plaintiff’s

  Complaint as the allegations do not pertain to CWS and CWS is without information sufficient to

  form a belief as to the truth of the allegations contained in Count X of Plaintiff’s Complaint and

  leaves Plaintiff to his proofs.


              WHEREFORE, Defendant demands judgment dismissing Plaintiff’s Complaint and

  denying any request for attorney’s fees and costs of suit, and such other relief as the Court deems

  fair, equitable and just.


                                               COUNT XI

              134.   Defendant repeats and realleges its responses to paragraphs 1 through 133 of

  Plaintiff’s Complaint as if fully set forth herein.


              135-142.     CWS makes no response to the allegations in Count XI of Plaintiff’s

  Complaint as the allegations do not pertain to CWS and CWS is without information sufficient to

  form a belief as to the truth of the allegations contained in Count XI of Plaintiff’s Complaint and

  leaves Plaintiff to his proofs.


              WHEREFORE, Defendant demands judgment dismissing Plaintiff’s Complaint and

  denying any request for attorney’s fees and costs of suit, and such other relief as the Court deems

  fair, equitable and just.




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                                              COUNT XII

              143.   Defendant repeats and realleges its responses to paragraphs 1 through 142 of

  Plaintiff’s Complaint as if fully set forth herein.


              144-153.     CWS makes no response to the allegations in Count XII of Plaintiff’s

  Complaint as the allegations do not pertain to CWS and CWS is without information sufficient to

  form a belief as to the truth of the allegations contained in Count XII of Plaintiff’s Complaint and

  leaves Plaintiff to his proofs.


              WHEREFORE, Defendant demands judgment dismissing Plaintiff’s Complaint and

  denying any request for attorney’s fees and costs of suit, and such other relief as the Court deems

  fair, equitable and just.


                                              COUNT XIII

              154.   Defendant repeats and realleges its responses to paragraphs 1 through 153 of

  Plaintiff’s Complaint as if fully set forth herein.


              155.   Defendant denies the allegations contained in paragraph 155 of Plaintiff’s

  Complaint.


              156.   Defendant denies the allegations contained in paragraph 156 of Plaintiff’s

  Complaint.


              157.   Defendant denies the allegations contained in paragraph 157 of Plaintiff’s

  Complaint.


              158.   Defendant denies the allegations contained in paragraph 158 of Plaintiff’s

  Complaint.


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              159.   Defendant denies the allegations contained in paragraph 159 of Plaintiff’s

  Complaint.


              160.   Defendant denies the allegations contained in paragraph 160 of Plaintiff’s

  Complaint.


              161.   Defendant denies the allegations contained in paragraph 161 of Plaintiff’s

  Complaint.


              WHEREFORE, Defendant demands judgment dismissing Plaintiff’s Complaint and

  denying any request for attorney’s fees and costs of suit, and such other relief as the Court deems

  fair, equitable and just.


                                          SEPARATE DEFENSES

                                       FIRST SEPARATE DEFENSE

              Plaintiff’s Complaint herein fails to state a claim upon which relief can be granted and

  Defendant CWS reserves the right to move at or before the time of trial to dismiss same.


                                     SECOND SEPARATE DEFENSE

              Plaintiff is estopped from proceeding with this alleged cause of action.


                                      THIRD SEPARATE DEFENSE

              Plaintiff has waived his right to bring this suit of action against Defendant CWS.


                                     FOURTH SEPARATE DEFENSE

              Plaintiff’s action is barred by the doctrine of unclean hands.




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                                      FIFTH SEPARATE DEFENSE

              Insofar as Plaintiff’s Complaint herein seeks damages against Defendant CWS, the

  Complaint must be dismissed in that Plaintiff sustained no damage.


                                      SIXTH SEPARATE DEFENSE

              Plaintiff has executed a valid and binding release by the terms, effect and operation of

  which Plaintiff has released Defendant CWS from liability to Plaintiff for the incident and damages

  complained of.


                                   SEVENTH SEPARATE DEFENSE

              There was no privity between the Plaintiff and Defendant CWS.


                                    EIGHTH SEPARATE DEFENSE

              Any and all injuries and damages sustained were the result of a third party over whom

  Defendant CWS had no control.


                                     NINTH SEPARATE DEFENSE

              Demand and claim for contribution under the terms and conditions of the Joint Tortfeasors

  Contribution Act (N.J.S.A. 2A:53A-1, et seq.) is made against all Co-defendants in this matter.


                                     TENTH SEPARATE DEFENSE

              Plaintiff has executed a valid and binding release by the terms, effect and operation of

  which Plaintiff has released Defendant CWS from liability to Plaintiff for the incident and damages

  complained of.




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                                   ELEVENTH SEPARATE DEFENSE

              Plaintiff’s injuries are a result of his own intentional, wanton and malicious acts. Thus,

  Plaintiff is barred from recovery.


                                   TWELFTH SEPARATE DEFENSE

              Defendant CWS is entitled to a determination of the percentage shares of responsibility of

  all tortfeasors whose fault contributed to the claimed injuries and damages, as the obligation, if

  any, of Defendant CWS to respond in damages should not exceed its percentage share.


                                 THIRTEENTH SEPARATE DEFENSE

              Defendant CWS acted on reasonable grounds and without malice, and, therefore, is not

  responsible to Plaintiff for any alleged damages.


                                 FOURTEENTH SEPARATE DEFENSE

              Defendant CWS acted in accordance with accepted standards of care and Plaintiff’s

  Complaint must be dismissed.


                                  FIFTEENTH SEPARATE DEFENSE

              Defendant CWS owed no legal duty to Plaintiff.


                                  SIXTEENTH SEPARATE DEFENSE

              Defendant CWS breached no duty owed to Plaintiff.


                                SEVENTEENTH SEPARATE DEFENSE

              Any action of Defendant CWS was not the proximate cause of any harm or loss to Plaintiff.




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                                 EIGHTEENTH SEPARATE DEFENSE

              Any damage sustained by Plaintiff was as a result of the actions of Plaintiff for which

  Defendant CWS is not liable.


                                 NINETEENTHSEPARATE DEFENSE

              As there was no attorney client relationship between CWS and Plaintiff, CWS owed no

  legal duty to Plaintiff.


                                  TWENTIETH SEPARATE DEFENSE

              Plaintiff’s Complaint is frivolous and filed in bad faith and CWS adopts and incorporates

  its September 30, 2020 letter and is entitled to recover its legal fees in defending this frivolous

  action.


                                 CROSSCLAIM FOR CONTRIBUTION

              Defendant CWS denies liability with respect to Plaintiff’s claims. However, if Defendant

  CWS is adjudged liable, then Defendant CWS demands contribution from all Co-Defendants,

  pursuant to the provisions of New Jersey Joint Tortfeasors Contribution Act, N.J.S.A. 2A:53A.


                               CROSSCLAIM FOR INDEMNIFICATION

              Defendant CWS denies any liability with respect to Plaintiff’s claims. However, if

  Defendant CWS is adjudged liable to Plaintiff, Defendant CWS demands equal indemnification

  from the Co-Defendants.


                                      ANSWER TO CROSSCLAIM

              Defendant CWS, by way of answer to any and all Crossclaim which may be asserted

  against Defendant CWS, says:




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              Defendant CWS denies the allegations of any Crossclaims asserted by Co-Defendants and

  Co-Defendants are not entitled to the relief sought.

              WHEREFORE, Defendant CWS demands judgment dismissing any crossclaim plus costs.


                                    DEMAND FOR TRIAL BY JURY

              PLEASE TAKE NOTICE, that Defendant CWS demands a trial of the issues by a jury

  of six.

                      DEMAND FOR ALLOCATION PURSUANT TO R. 4:7-5(c)

              If any Co-Defendant settles prior to trial, answering Defendant CWS will seek an allocation

  of the percentage of negligence by the fact finder against the settling Defendant. We will seek this

  allocation, whether or not we have formally filed a Crossclaim against the settling Defendant. We

  may rely upon the examination and cross-examination of expert witnesses at the time of trial, in

  support of this allocation. You are being apprised of this pursuant to R. 4:7-5(c) and Young v.

  Latta, 123 N.J. 584 (1991).


                             DEMAND FOR STATEMENT OF DAMAGES

              Please take notice that Defendant CWS demands that Plaintiff furnish a statement of

  damages claimed within the time proscribed by the Rules of Court.


                                 DESIGNATION OF TRIAL COUNSEL

              Michael J. Canning, Esq. is hereby designated as trial counsel.


                                             CERTIFICATION

              I hereby certify that true copies of the within pleading were timely served upon the

  attorneys of record in this action and who have appeared pro se.




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                              CERTIFICATION PURSUANT TO R. 4:5-1

              The undersigned herby certifies that this matter is not the subject of any other action

  pending in any court or arbitration proceeding, and no other action or arbitration proceeding is

  contemplated. The undersigned hereby certifies that he knows of no other parties who should be

  joined in the action at this time.


                                              GIORDANO HALLERAN & CIESLA, P.C.
                                              Attorneys for Defendant, Cohen, Weiss and Simon LLP




                                              By: ________________________________________
                                                        MICHAEL J. CANNING

  Dated: October 22, 2020



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